              UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                   Plaintiff,

            -vs-                                           Case No. 10-CR-64

ASENCION GAONA,

                   Defendant.

                       DECISION AND ORDER

      Before the Court is Defendant Asencion Gaona’s (Gaona) motion to

reduce his sentence pursuant to 18 U.S.C. § 3582(c), which allows a court

to reduce a sentence if (1) the U.S. Sentencing Commission (Commission)

has lowered the applicable guideline range, and (2) the reduction is

consistent with applicable policy statements issued by the Commission.

      In Gaona’s case the first criterion has been met. However, the

Commission’s policy statement at USSG § 1B1.10(b)(2) prohibits reduction

of a sentence to a term that is “less than the minimum of the amended

guideline range.” The 132-month sentence imposed by this Court is below

guideline under both the original and amended ranges and, therefore,

cannot be reduced. The Commission provides an exception for substantial

assistance, but the sentence was not the result of co-operation with the

government. Gaona fails to meet the second criterion. Accordingly, his

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motion must be denied.

      IT IS HEREBY ORDERED THAT:

      Gaona’a motion to reduce sentence (ECF No. 517) is DENIED.


      Dated at Milwaukee, Wisconsin, this 19th day of August, 2015.


                                            BY THE COURT:


                                            __________________________
                                            HON. RUDOLPH T. RANDA
                                            U.S. District Judge




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